Case 1:21-cv-23727-DPG Document 250-6 Entered on FLSD Docket 10/16/2024 Page 1 of 14
                                                                     Exhibit D 57A
Case 1:21-cv-23727-DPG Document 250-6 Entered on FLSD Docket 10/16/2024 Page 2 of 14
Case 1:21-cv-23727-DPG Document 250-6 Entered on FLSD Docket 10/16/2024 Page 3 of 14
Case 1:21-cv-23727-DPG Document 250-6 Entered on FLSD Docket 10/16/2024 Page 4 of 14
Case 1:21-cv-23727-DPG Document 250-6 Entered on FLSD Docket 10/16/2024 Page 5 of 14
Case 1:21-cv-23727-DPG Document 250-6 Entered on FLSD Docket 10/16/2024 Page 6 of 14
Case 1:21-cv-23727-DPG Document 250-6 Entered on FLSD Docket 10/16/2024 Page 7 of 14
Case 1:21-cv-23727-DPG Document 250-6 Entered on FLSD Docket 10/16/2024 Page 8 of 14
Case 1:21-cv-23727-DPG Document 250-6 Entered on FLSD Docket 10/16/2024 Page 9 of 14
Case 1:21-cv-23727-DPG Document 250-6 Entered on FLSD Docket 10/16/2024 Page 10 of
                                      14
Case 1:21-cv-23727-DPG Document 250-6 Entered on FLSD Docket 10/16/2024 Page 11 of
                                      14
Case 1:21-cv-23727-DPG Document 250-6 Entered on FLSD Docket 10/16/2024 Page 12 of
                                      14
Case 1:21-cv-23727-DPG Document 250-6 Entered on FLSD Docket 10/16/2024 Page 13 of
                                      14
Case 1:21-cv-23727-DPG Document 250-6 Entered on FLSD Docket 10/16/2024 Page 14 of
                                      14
